854 F.2d 1088
    129 L.R.R.M. (BNA) 2595, 109 Lab.Cas.  P 10,723
    INTERNATIONAL ASSOCIATION OF MACHINISTS &amp; AEROSPACE WORKERS,AFL-CIO and IAM District Lodge 143, Appellees,v.NORTHWEST AIRLINES, INC., Appellant.
    No. 87-5235-MN.
    United States Court of Appeals,Eighth Circuit.
    Aug. 4, 1988.
    
      1
      Appeal from the United States District Court for the District of minnesota.
    
    
      2
      John J. Gallagher and Ronald M. Johnson, Jessica R. Rifkin, Akin, Gump, Strauss, Hauer and Feld, Washington, D.C., Messrs. David A. Ranheim and John J. Scanlon, III, Dorsey and Whitney, Minneapolis, Minn., for appellant.
    
    
      3
      Joseph Guerrieri, Jr., Guerrieri, Edmond &amp; Jones, Washington, D.C., Michael W. Unger, Hvass, Weisman &amp; King, Minneapolis, Minn., for appellees.
    
    JUDGMENT
    
      4
      The case is dismissed as moot and the judgment of this court entered April 5, 1988, 843 F.2d 1119, is hereby ordered vacated.  The cause is remanded to the district court with directions to vacate its judgment and dismiss the complaint.  Each party will pay its own costs.
    
    